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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-547-MWF

13             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
14                    v.                     PERIODS PURSUANT TO SPEEDY TRIAL
                                             ACT
15   JASON NEWLING,
                                             TRIAL DATE: 08/07/2018
16             Defendant.                    STATUS CONF: 07/30/2018
17

18        The Court has read and considered the Stipulation Regarding
19   Request for (1) Continuance of Trial Date and (2) Findings of
20   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
21   parties in this matter on February 23, 2018.         The Court hereby finds
22   that the Stipulation, which this Court incorporates by reference into
23   this Order, demonstrates facts that support a continuance of the
24   trial date in this matter, and provides good cause for a finding of
25   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.
26        The Court further finds that:       (i) the ends of justice served by
27   the continuance outweigh the best interest of the public and
28   defendant in a speedy trial; (ii) failure to grant the continuance
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 1   would be likely to make a continuation of the proceeding impossible,

 2   or result in a miscarriage of justice; and (iii) failure to grant the

 3   continuance would unreasonably deny defendant continuity of counsel

 4   and would deny defense counsel the reasonable time necessary for

 5   effective preparation, taking into account the exercise of due

 6   diligence.

 7        THEREFORE, FOR GOOD CAUSE SHOWN:

 8        1.      The trial in this matter is continued from March 6, 2018 to

 9   August 7, 2018 at 8:30 a.m, and a status conference is scheduled for

10   July 30, 2018 at 3:00 p.m.

11        2.      The time period of March 6, 2018 to August 7, 2018,

12   inclusive, is excluded in computing the time within which the trial

13   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

14   and (B)(iv).

15        3.      Defendant shall appear in Courtroom 5A of the First Street

16   Courthouse, 350 West First Street, Los Angeles, California 90012 on

17   August 7, 2018 at 8:30 am.

18        4.      Nothing in this Order shall preclude a finding that other

19   provisions of the Speedy Trial Act dictate that additional time

20   periods are excluded from the period within which trial must

21   commence.    Moreover, the same provisions and/or other provisions of

22   the Speedy Trial Act may in the future authorize the exclusion of

23   //

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 1   additional time periods from the period within which trial must

 2   commence.

 3        IT IS SO ORDERED.

 4

 5   February 23 ,2018
     DATE                                     HONORABLE MICHAEL W. FITZGERALD
 6                                            UNITED STATES DISTRICT JUDGE
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 9   Presented by:
10        /s/
     KERRY L. QUINN
11   Assistant United States Attorney
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